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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                        §   Chapter 7
                                              §
ALEXANDER E. JONES                            §   Case No. 22-33553
                                              §
         Debtor.                              §



      COVER SHEET FOR FIRST INTERIM AND FINAL FEE APPLICATION OF
    D. R. PAYNE & ASSOCIATES, INC. FOR COMPENSATION FOR SERVICES AND
     REIMBURSMENT OF EXPENSES AS THE DEBTOR’S FINANCIAL EXPERTS
              FOR PERIOD FROM JANUARY 16, 2024 THROUGH JUNE 14, 2024



   Name of Applicant:                              D. R. Payne & Associates, Inc.
   Capacity:                                       Financial Expert to the Debtor
   Name of Client:                                 Alexander E. Jones
   Time Period Covered by this Application:        January 16, 2024 through June 14, 2024
   Total Compensation sought this period:          $162,491.85
   Total Expenses Sought this Period:              $1,938.92




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 Petition Date:                                    December 2, 2022
 Retention Date:                                   January 16, 2024
 Date of Order Approving Employment:               March 20, 2024
 Total Compensation Approved by Interim            $0.00
 Order to Date:
 Total Expenses Approved by Interim Order          $0.00
 to Date:
 Total Allowed Compensation Paid to Date:          $0.00
 Total Allowed Expenses Paid to Date:              $0.00
 Blended Rate in this Application for              $0.00
 All Attorneys:
 Blended Rate in This Application for              $436.35
 All Timekeepers:
 Compensation Sought in This Application           $0.00
 Already Paid Pursuant to an
 Administrative Order But Not Yet
 Allowed
 Expenses Sought in This Application               $0.00
 Already Paid Pursuant to an Administrative
 Order But Not Yet Allowed
 Number of Professionals Included in               8
 this Application

This is a:         monthly               interim             x    final application




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       SUMMARY OF PROFESSIONALS DURING THE SERVICES PERIOD

                                                                   Total
                             Position of       Hourly Rate         Hours
   Name of Professional      Applicant     (including changes)     Billed  Total Compensation
  David R. Payne             Managing                $650.00        151.50         $92,267.50
                              Director
  Ann M. Payne                Director              $575.00           3.00         $1,725.00
  Sandra J. Bassett           Manager               $495.00          22.50        $11,137.50
  Mark A. Jackson             Manager               $450.00          24.50        $11,025.00
  Chandler Lidia             Consultant             $325.00          79.05        $25,691.25
  Clay G. Heston             Consultant             $275.00          15.00         $4,125.00
  Rozetta A. Bishop            Staff                $215.00          67.82        $14,581.30
  Amy J. Mullin                Staff                $215.00           9.02         $1,939.30
  Total                                                             372.39       $162,491.85




        BLENDED RATE OF PROFESSIONALS DURING SERVICES PERIOD

                                           Blended               Total Hours       Total
            Professional
                                            Rate                    Billed     Compensation
 Managing Directors & Directors            $608.37                 154.50        $93,992.50
 Managers & Consultants                    $368.51                 141.05        $51,978.75
 Staff                                     $215.00                  76.84        $16,520.60
 Total                                                             372.39        $162,491.85




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             COMPENSATION BY CATEGORY DURING SERVICES PERIOD

                                                                                         Total
                                  Project Area                                   Hours   Fees
A.   Review and Evaluation of Case Documents, Significant Docket Filings 21.82 $ 8,513.80
     Including Debtor’s DS and POR, Creditors’ POR, MOR’s, Schedules and
     SOFA – A. Jones Case #22-33553
B.   Review and Evaluation of Case Documents, Significant Docket Filings 12.75 $ 3,264.50
     Including Debtor’s DS and POR, Creditors’ POR, MOR’s, Schedules and
     SOFA – Free Speech Systems, LLC Case #22-60043
C.   Assess Personal Goodwill, Corporate Goodwill and Reasonable 25.85 $ 13,283.75
     Compensation (Section 5 of Expert Report)
D.   Review, Organize and Research Articles, Publications, Case Law and           8.05 $ 2,731.25
     Statistics Impacting Confirmation of the Plans (Section 7 of Expert Report)
E.   Perform Present Value Calculations Related to Plan Payments/Values and 24.95 $ 9,766.25
     Assess Appropriate Discount Rates (Section 6 of Expert Report)
F.   Reorganization Value Assessment of A. Jones’ Ownership Interest in Free 35.00 $ 13,000.00
     Speech Systems (Section 4 of Expert Report)
G.   Evaluation of Free Speech Sales, Margin, Profits, Historical Trends and 5- 13.25 $ 5,465.75
     Year Projections (Section 3 of Expert Report)
H.   Evaluation of A. Jones Proposed Plan and Projections Including Salary, 16.05 $ 7,683.75
     Living and Maintenance Expenses, Non-Exempt Assets, Disposable Income
     and Proposed Payout; Historical Analysis of Personal Income and Living
     Expenses (Section 2 of Expert Report)
I.   Expert Rule 26 Report for A. Jones Reorganization Evaluation: Liquidation 73.12 $ 30,296.30
     Test, Disposable Income Test and Absolute Priority Test
J.   Expert Rule 26 Report for A. Jones’ Ownership Interest in Free Speech 54.20 $ 25,814.00
     Systems: Reorganization Value, Liquidation Value and Contributing Value of
     Personal Goodwill
K.   Meeting and Conferences with Debtor’s Professionals to Discuss Scope of      8.20 $ 4,663.75
     Work and Findings/Opinions
L.   Meetings, Interviews and Conference With Free Speech Systems’ Employees, 36.30 $ 19,082.50
     Contractors and Professionals


                                                                                          Total
                                Project Area                                     Hours    Fees
M.                                                                                19.10 $ 6,207.50
     Travel to/from Free Speech Offices and Debtor Location for In Person, On-
     Site Work Procedures; Travel to/from Ft. Worth BK Court for Mediation
N.   Attendance and Participation in Plan Settlement/Mediation Conference        13.30 $ 8,645.00
O.   Preparation of Retention and/or Fee Application Matters and Disclosures to 10.45 $ 4,073.75
     Include in Pleadings
     Total Fees Requested                                                       372.39 $ 162,491.85

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                   EXPENSE SUMMARY DURING SERVICES PERIOD

                                                                               Total
Expense Category                                                   Rate       Expense
Pacer Charges                                                     At Cost   $    448.50
Rental Car - Austin                                               At Cost   $    131.67
Flight to Austin                                                  At Cost   $    691.47
Parking                                                           At Cost   $     22.70
Mileage to/from Ft. Worth                                         At Cost   $    293.46
Hotel                                                             At Cost   $    351.12
Total                                                             At Cost   $ 1,938.92




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                            §    Chapter 7
                                                  §
ALEXANDER E. JONES                                §    Case No. 22-33553
                                                  §
         Debtor.                                  §


                FIRST INTERIM AND FINAL FEE APPLICATION OF
    D. R. PAYNE & ASSOCIATES, INC. FOR COMPENSATION FOR SERVICES AND
     REIMBURSMENT OF EXPENSES AS THE DEBTOR’S FINANCIAL EXPERTS
           FOR PERIOD FROM JANUARY 16, 2024 THROUGH JUNE 14, 2024
         If you object to the relief requested, you must respond in writing. Unless otherwise
         directed by the Court, you must file your response electronically at
         https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this motion
         was filed. If you do not have electronic filing privileges, you must file a written
         objection that is actually received by the clerk within twenty-one days from the
         date this application was filed. Otherwise, the Court may treat the pleading as
         unopposed and grant the relief requested.
         D. R. Payne & Associates, Inc. ("DRPA"), as the financial experts for plan confirmation

assessment services to Alexander E. Jones ("Debtor") in the above-captioned bankruptcy case (the

"Bankruptcy Case" or "Case"), by and through the Debtor’s undersigned counsel, files this First

Interim and Final Application (the "Final Fee Application" or "Application") for allowance and

payment of compensation for professional services rendered and reimbursement of actual and

necessary expenses incurred from January 18, 2024, through and including June 14, 2024 (the

"Services Period"). In support of its Application, DRPA respectfully states as follows:

                                    JURISDICTION AND VENUE

          1.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

 This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper in this Court

 pursuant to 28 U.S.C. §§ 1408 and 1409.

          2.       The statutory predicates for the relief sought in this Application are sections 330,

 331 and 503(b)(2) of title 11 of the United States Code (the "Bankruptcy Code") and Rule 2016 of
 FIRST INTERIM AND FINAL FEE APPLICATION OF D. R. PAYNE & ASSOCIATES, INC                 PAGE 10 OF 11
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    the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules") and the Local Bankruptcy

    Rules for this Court (the "Local Rules").

                                              PROCEDURAL HISTORY

             3.        On December 2, 2022 (the "Petition Date"), the Debtor filed a voluntary petition

    for relief in this Court under Chapter 11 of the Bankruptcy Code. An unsecured creditors’

    committee was appointed in the Case.

             4.        On February 15, 2024, the Debtor filed an Application Entry of an Order Authorizing

    the Retention and Employment of D. R. Payne & Associates, Inc. as Expert Advisors to the Debtor

    [Doc. 603] (the “Employment Application”) which requested retention effective to January 16,

    2024. On March 20, 2024, the Court entered an order granting the application (the “Employment

    Order”) and employing DRPA as the Debtor’s financial expert [Docket No. 635].

             5.        The Debtor’s Chapter 11 Plan of Reorganization [Docket No. 523] (the "Plan")1

    was filed December on 15, 2023. The Court entered conditional approval of the Plan on January

    25, 2024.

             6.        On April 15, 2024, DRPA completed and finalized their expert reports pursuant to

    Rule 26 of the Federal Rules of Civil Procedure.

             7.     On April 17 and 18, 2024, the Debtor participated in a mediation conference (“Plan

Settlement Conference”) regarding the Plan. Mr. Payne of DRPA participated in the Plan

Settlement Conference.

             8.     The Plan Settlement Conference did not resolve the terms and conditions for a

confirmable platform for the Plan.




1
    Capitalized terms not defined herein shall have the meanings provided in the Plan unless otherwise noted.

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            9.    On June 14, 2024 the Debtor’s chapter 11 case proceeding was converted to a chapter

7 proceeding.

                      SERVICES RENDERED DURING SERVICES PERIOD

            10.   The Services Period encompassed a critical stage in this Case, most notably including

confirmation and implementation of the Debtor’s Plan. DRPA's time during the Services Period was

expended in connection with the Plan and the financial, economic and valuation elements required

to confirm the Plan. Attached hereto as Exhibit C is a Project Summary (defined below) categorizing

the services rendered by DRPA during the Services Period and providing detailed descriptions of the

tasks performed in each category.

            11.   During the Services Period, DRPA earned professional fees in the total amount of

$162,491.85 and incurred expenses totaling $1,938.92, for a combined total of $164,430.77 in fees

and expenses. DRPA expended a total of 372.39 hours during the Services Period at a blended hourly

rate of $436.35 per hour.

            12.   Pursuant to DRPA’s Employment Application [Docket No. 603], the Debtor paid

DRPA a $40,000.00 retainer (“Retainer”).

                   REQUEST FOR ALLOWANCE OF FEES AND EXPENSES

            13.   DRPA hereby seeks entry of an order: (a) allowing, on a final basis, all professional

fees earned and expenses incurred by DRPA as the Debtor’s financial experts from January 16, 2024

through June 14, 2024 conversion date (the "Final Fees and Expenses"); (b) approving release and

application of the Retainer to the fees and expenses requested for approval herein; and (c) authorizing and

directing the Chapter 7 Trustee, as applicable, to pay DRPA the full amount of the Final Fees and

Expenses to the extent such amounts have not already been paid pursuant to application of the

Retainer.



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  A.      DRPA'S FINAL FEES AND EXPENSES

          14.     DRPA's Fee Statement and DRPA's final invoice for the Services Period is attached

hereto as Exhibit A ("Invoice"). The Invoice is generated by DRPA in the ordinary course of its

business and is compiled from daily time records submitted on a contemporaneous basis by DRPA's

professionals. The Invoice contains a detailed listing and description of all services performed by

DRPA as financial experts to the Debtor, the time spent and dates on which those services were

performed, the professionals that performed the services, and the rates charged during the Services

Period.

          15.     Attached hereto as Exhibit B is a summary listing the total hours billed and the

applicable billing rates for each of DRPA's professionals during the Services Period (the "Billing

Summary"). In addition, DRPA has attached as Exhibit C a summary showing the fees and services

rendered by specific subject areas or matters of the case during the Services Period (the "Project

Summary").

          16.     The actual and necessary expenses incurred by DRPA during the Services Period

are set forth in detail on the Invoice.

  B.      EVALUATION STANDARDS

          17.     The Fifth Circuit Court of Appeals has enumerated a number of factors which should

be considered in awarding compensation to professionals, such as DRPA, in a bankruptcy proceeding

such as the instant one. In re First Colonial Corp., 544 F.2d 1291 (5th Cir. 1977); see also 11 U.S.C.

§330 and §331. The Fifth Circuit employs the Johnson factors to aid courts in considering the

reasonableness of attorneys' fees, and to assist in the court's findings and reasons upon which an

award of attorneys' fees are based. See Johnson v. Georgia Highway Exp., Inc., 488 F.2d 714 (5th

Cir. 1974). Consideration of these factors follows:



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               a.      Time and Labor Required. Since its appointment, DRPA has committed the

necessary time and effort on behalf of the Debtor. During the Services Period, DRPA expended a

total of 372.39 in professional hours and incurred a total of $162,491.85 in fees as financial experts

to the Debtor, resulting in blended hourly billing rate of $436.35 per hour.

               b.      Novelty and Difficulty of the Questions. The issues encountered by DRPA

while representing the Debtor has been of a complex and specialized nature, requiring advanced

skills and knowledge in avoidance action analysis in order to obtain results useful to the Debtor.

               c.      Skill Required to Perform Services Properly. DRPA's firm has members,

including those who have performed services on behalf of the Debtor, who are specialized in various

facets of appraisal, valuation, financial advisory and bankruptcy consulting services. In particular,

David Payne and his firm has a tremendous depth of knowledge and experience in assessing

reorganization values, liquidation values, present values, disposable income, feasibility and plan

confirmation matters. Due to its expertise and skill in these specialized areas, DRPA believes far

more time would have been expended by less experienced personnel, with considerably less usable

results to assess plan confirmation issues.

               d.      Preclusion of Other Employment. DRPA is unable to precisely estimate the

extent to which it has been precluded from accepting other employment by reason of its

employment in this Case. DRPA has, however, found it necessary to reschedule and, in some

instances forego, work on other matters because of the concentrated efforts necessary to respond to

the Debtor’s needs.

               e.      Customary Fees. The fees for which DRPA has applied herein are within

the customary fees awarded in other proceedings for similar services rendered and results obtained.

               f.      Whether Fee is Fixed or Contingent. DRPA's fees in this proceeding is fixed

at its standard hourly rates and is not contingent upon results achieved or the ultimate availability

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of funds for the payment of said fees from the bankruptcy estates. DRPA, however, concedes that

fees in bankruptcy cases are contingent on the outcome of the case, in addition to being subject to

the scrutiny of the Court.

                g.      Time Limitations. DRPA believes that its role in this Case have, to date, been

handled in an expeditious manner, given the factual circumstances involved and the complex issues

confronted. DRPA further believes that no undue delays have occurred and that it has proceeded

expeditiously and efficiently to the benefit of the Debtor, the creditors and all other parties-in-

interest.

                h.      Amount Involved and Results Obtained. Results of DRPA's work yielded

benefits to the Debtor, the estate, and creditors by assisting the Debtor and their counsel in evaluating

the requirements and challenges of proceeding to confirm the Debtor’s Plan over the objection of

certain creditors and/or the unsecured creditors’ committee.

                i.      Experience, Reputation and Ability of Professionals. DRPA submits that its

appraisers, consultants and accountants and other staff personnel are respected for their ability in

financial consulting and expert services, particularly in regard to appraisal, valuation, financial advisory

and bankruptcy consulting services. DRPA has been retained by numerous debtors-in-possession,

trustees and debtors in various Chapter 11 and Chapter 7 proceedings and have received favorable

comments from the Courts and other parties-in-interest.

                j.      Undesirability of the Case. DRPA does not believe that this is or should be

a significant factor in the consideration of this Application. DRPA does not believe that serving as

the Debtor’s financial experts in this proceeding was "undesirable."

                k.      Nature and Length of Professional Relationship with Client. Prior to

DRPA's engagement by the Debtor in January 2024, DRPA had not performed services for the

Debtor or any related entities.

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                 l.      Awards in Similar Cases. DRPA believes that its services rendered as

 financial experts for the Debtor have substantially benefited the estates and creditors, and that such

 services are of reasonable value. DRPA further believes that the fees applied for are in conformity

 with fees allowed in similar proceedings for similar services rendered and results obtained. DRPA

 respectfully requests that the Court take judicial notice of the awards that have been made in similar

 proceedings in this Court and other bankruptcy courts in the State of Texas.

 C.      DRPA'S REPRESENTATIONS

         18.     DRPA believes that the Final Fees and Expenses are fair and reasonable in light of

the time spent, the size, complexity, and extent of the operations of the Debtor’s estate, the risks

associated with this Case, and the results obtained. DRPA represents that such fees and expenses are

reasonable, economical, and customarily charged to non-bankruptcy clients. DRPA further

represents that requested expenses adhere to allowable rates for expenses as fixed by federal and local

guidelines or order of the Court.

         19.     DRPA represents that to the best of its knowledge, information and belief, formed

after reasonable inquiry, the Final Fees and Expenses sought herein are in conformity with the

Bankruptcy Code and Local Rules for compensation and expense reimbursement of professionals

adopted in this Court. Furthermore, the requested compensation and expense reimbursements are

billed at rates, in accordance with practices no more favorable than those customarily employed by

DRPA and generally accepted by DRPA's clients.

         20.     DRPA was at all times a "disinterested person" and has not represented or held any

interest adverse to the Debtor’s estate on the matters for which it was employed, in compliance with

Bankruptcy Code § 327(a).




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                                        CONCLUSION

       WHEREFORE, DRPA respectfully requests that the Court enter an order (a) allowing and

awarding to DRPA, on a final basis, the full amount of Final Fees and Expenses in the combined

total amount of $162,491.85 for services rendered and $1,938.92 for expenses incurred from the

January 16, 2024 through the June 14, 2024, as further set forth herein; (b) authorizing DRPA to

draw down on its Retainer, in partial satisfaction of the allowed Final Fees and Expenses; (c)

authorizing and directing the Chapter 7 Trustee to pay DRPA all unpaid portions of the Final Fees

and Expenses in the amount of $124,430.77; and (d) granting DRPA such other and further relief

to which it may be justly entitled.

DATED: June 28, 2024
                                                    Respectfully submitted,

                                                    D.R. PAYNE & ASSOCIATES, INC.

                                                    By:     /s/ David R. Payne
                                                            David R.
                                                            Payne
                                                            President

                                                  /s/ Christina W. Stephenson
                                                  CROWE & DUNLEVY, P.C.
                                                  Vickie L. Driver
                                                  State Bar No. 24026886
                                                  Christina W. Stephenson
                                                  State Bar No. 24049535
                                                  2525 McKinnon St., Suite 425
                                                  Dallas, TX 75201
                                                  Telephone: 737.218.6187
                                                  Email: dallaseservice@crowedunlevy.com

                                                  ATTORNEYS FOR DEBTOR
                                                  ALEXANDER E. JONES, filing on behalf of
                                                  estate professionals




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                                CERTIFICATE OF SERVICE

        This is to certify that on June 28, 2024, the foregoing Application was served (i) via the
Court's CM/ECF system upon all parties receiving such service in this bankruptcy case.


                                                  /s/ Christina W. Stephenson
                                                  Christina W. Stephenson




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                                   SUMMARY OF EXHIBITS

EXHIBIT A       INVOICE

EXHIBIT B       BILLING SUMMARY

EXHIBIT C       PROJECT SUMMARY

EXHIBIT D       PROPOSED ORDER




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